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  8                        UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                    Case No. 15cr2601-GPC
11                       Plaintiff,                AMENDED ORDER OF
                                                   CRIMINAL FORFEITURE
12         v.
13    JOSE RODILES-PERDOMO (1),
      JOSE RUBIO (2),
14
                         Defendants.
15
16         On November 30, 2015, this Court entered its Preliminary Order of Criminal
17 Forfeiture, which condemned and forfeited to the United States all right, title and
18 interest of JOSE RODILES-PERDOMO (1) ("Defendant") in the properties listed in
19 the Forfeiture Allegations of the Information, namely,
20               (1)     Approximately $46,985.00 in U.S. currency, and
21               (2)     one black 2004 Jeep Grand Cherokee bearing
                         California license plate number 7HYS492 and Vehicle
22                       Identification Number (VIN) 1J4GW58NX4C287307.
23         On January 4, 2016, this Court entered its Preliminary Order of Criminal
24 Forfeiture, which condemned and forfeited to the United States all right, title and
25 interest of JOSE RUBIO (2) ("Defendant") in the properties listed above.
26         For thirty (30) consecutive days ending on January 2, 2016, the United States
27 published on its forfeiture website, www.forfeiture.gov, notice of the Court's Order
28 and the United States' intent to dispose of the properties in such manner as the
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  1 Attorney General may direct, pursuant to 21 U.S.C. § 853(n) and Rule G(4) of the
  2 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
  3 and further notifying all third parties of their right to petition the Court within thirty
  4 (30) days of the final publication for a hearing to adjudicate the validity of their
  5 alleged legal interest in the properties.
  6         There were no potential third parties known to the United States to have
  7 alleged an interest in the forfeited properties; therefore, no one was provided with
  8 direct notice of the forfeiture.
  9         Thirty (30) days have passed following the final date of notice by publication,
10 and no third party has made a claim to or declared any interest in the forfeited
11 properties described above.
12          Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
13 that, as a result of the failure of any third party to come forward or file a petition for
14 relief from forfeiture as provided by law, all right, title and interest of JOSE
15 RODILES-PERDOMO (1) and JOSE RUBIO (2) and any and all third parties in the
16 following properties are hereby condemned, forfeited and vested in the United States
17 of America:
18                (1)    Approximately $46,985.00 in U.S. currency, and
19                (2)    one black 2004 Jeep Grand Cherokee bearing
                         California license plate number 7HYS492 and Vehicle
20                       Identification Number (VIN) 1J4GW58NX4C287307.
21          IT IS FURTHER ORDERED that costs incurred by the U.S. Immigration and
22 Customs Enforcement ("ICE"), and any other governmental agencies which were
23 incident to the seizure, custody and storage of the properties be the first charge
24 against the forfeited properties.
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  1        IT IS FURTHER ORDERED that ICE shall dispose of the forfeited properties
  2 according to law.
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      Dated: February 17, 2016
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